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MICHAEL KIBLER                                 *     IN THE
JENNIFER KIBLER, Individually and
as Parents and Next Friends of BRYCEN KIBLER   *
791 Redwood Drive
Waynesboro, PA 17268                           *

      Plaintiffs                               *

v.                                             *    UNITED STATES

MICHAEL GOODWIN CETTA, M.D.                    *
9901 Medical Center Drive
Emergency Department                           *
Rockville, Maryland 20850
                                               *
MOHAMMAD RAFI MALIK, M.D.
251 East Antietam Street                       *     DISTRICT COURT
Hagerstown, Maryland 21740
                                               *
MEP, LLC
20251 Century Boulevard                        *
Suite 130
Germantown, Maryland 20874                     *

      Serve On:                                *     FOR THE
      Resident Agent
      Richard Tanenbaum, Esquire               *
      6259 Executive Boulevard
      Rockville, Maryland 20852                *

TRUNG QUANG VU, M.D.                           *
10600 Avonlea Hills Court
Hagerstown, Maryland 21742                     *     DISTRICT OF

ASSOCIATED RADIOLOGISTS, P.A.                  *
251 East Antietam Street
Hagerstown, Maryland 21740                     *

      Serve On:                                *
      Resident Agent
      Barry D. Berman, Esquire                 *     MARYLAND
      100 Light Street
      Suite 1100                               *
      Baltimore, Maryland 21202
                                               (Caption Continued on Next Page)
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WASHINGTON COUNTY HOSPITAL ASSOCIATION *
251 East Antietam Street
Hagerstown, Maryland 21740             *

       Serve On:                                             *
       Resident Agent
       James P. Hamill,                                      *
       251 E. Antietam Street
       Hagerstown, Maryland 21740                            *

       Defendants                                            *

                                      *       *       *      *       *       *       *

                     COMPLAINT AND ELECTION FOR JURY TRIAL

       Plaintiffs, Michael Kibler and Jennifer Kibler, Individually, and as Parents and Next

Friends of Brycen Kibler, by their attorneys, Daniel M. Clements, Katharine O. Porwick, and

Salsbury, Clements, Bekman, Marder & Adkins, LLC, file this Statement of Claim against the

Defendants, Michael G. Cetta, M.D., Mohammad R. Malik, M.D. MEP, LLC, Trung Q. Vu,

M.D., Associated Radiologists, P.A., and Washington County Hospital Association and states:

       1.      Venue for this case is proper in the United States District Court for the District of

Maryland.

       2.      This case was originally filed in the Health Care Alternative Dispute Resolution

Office. Plaintiffs elected to waive arbitration. A copy of the Election to Waive Arbitration is

attached as Exhibit A.

       3.      The Defendant, Michael G. Cetta, M.D., is a citizen and resident of the

State of Maryland.

       4.      The Defendant, Mohammad R. Malik, M.D., is a citizen and resident of the State

of Maryland.


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       5.      The Defendant, MEP, LLC, is a Maryland corporation which maintains its

principal place of business in the State of Maryland.

       6.      The Defendant, Trung Q. Vu, M.D., is a citizen and resident of the State of

Maryland.

       7.      The Defendant, Associated Radiologists, P.A., is a Maryland corporation which

maintains its principal place of business in the State of Maryland.

       8.      The Defendant, Washington County Hospital Association is a Maryland

corporation which maintains its principal place of business in the State of Maryland.

       9.      The Plaintiffs, Michael Kibler, Jennifer Kibler and Brycen Kibler reside in the

State of Pennsylvania.

       10.     There exists diversity of citizenship pursuant to 28 U.S.C. Section 1332 since the

Plaintiffs and Defendants are citizens and residents of different states, and the amount in

controversy exceeds Seventy Five Thousand Dollars ($75,000.00) exclusive of interest and costs.

       11.     The venue for this claim is proper in the United States District Court for the

District of Maryland, Northern Division.

       12.     At all times hereinafter set forth, the Defendant, Michael G. Cetta, M.D., held

himself out to the Plaintiffs and to the general public as an experienced, competent and able

physician and healthcare provider possessing or providing that degree of skill and knowledge

which is ordinarily possessed by those who devote special study and attention to the practice of

emergency medicine, and as such owed a duty to the Plaintiffs, to render that degree of care and

treatment which is ordinarily rendered by those who devote special study and attention to the

practice of emergency medicine.


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       13.     At all times hereinafter set forth, the Defendant, Mohammad R. Malik M.D., held

himself out to the Plaintiffs and to the general public as an experienced, competent and able

physician and healthcare provider possessing or providing that degree of skill and knowledge

which is ordinarily possessed by those who devote special study and attention to the practice of

emergency medicine, and as such owed a duty to the Plaintiffs, to render that degree of care and

treatment which is ordinarily rendered by those who devote special study and attention to the

practice of emergency medicine.

       14.     At all times hereinafter set forth, the Defendants, Michael G. Cetta, M.D. and

Mohammad R. Malik, M.D. were agents and/or apparent agents, servants, or employees of the

Defendants, MEP, LLC and Washington County Hospital Association.

       15.     At all times hereinafter set forth, the Defendant, Trung Q. Vu, M.D., held himself

out to the Plaintiffs and to the general public as an experienced, competent and able radiologist

and healthcare provider possessing or providing that degree of skill and knowledge which is

ordinarily possessed by those who devote special study and attention to the practice of radiology,

and as such owed a duty to the Plaintiffs, to render that degree of care and treatment which is

ordinarily rendered by those who devote special study and attention to the practice of radiology.

       16.     At all times hereinafter set forth, the Defendant, Trung Q. Vu, M.D., was an agent

and/or apparent agent, servant, or employee of the Defendants, Associated Radiologists, P.A. and

Washington County Hospital Association.

                                            COUNT I

 (Michael Kibler and Jennifer Kibler as Parents and Next Friend of Brycen Kibler - Negligence)

       17.     Plaintiffs adopt and incorporate by reference the allegations contained in


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Paragraphs 1-17 of this Complaint as if they were set out at length herein.

        18.     On October 14, 2008, at approximately 7:29 a.m. four-year-old, Brycen Kibler

(hereinafter “Brycen”), presented to the emergency room of the Defendant Washington County

Hospital Association (Hereinafter “Hospital”) where his father reported that he had a swollen and

red left testicle and that Brycen had been walking with a wide gait.

        19.    In the emergency room, Brycen was evaluated by Defendant, Michael G. Cetta,

M.D., who performed a physical examination of Brycen and noted a painful, swollen, and red left

testicle. Dr. Cetta also noted that Brycen had absent cremesterick reflex on the left. Dr. Cetta

ordered an ultrasound and a urine culture.

        20.    An ultrasound was interpreted by Defendant, Trung Q. Vu, M.D. Although Dr.

Vu also noted a swollen left testicle and hyperemia surrounding the left testicle, he reported that

Brycen was suffering from orchitis (an infection of the testicle).

        21.    An urologist was never consulted. A nuclear scan of the testicle was never

ordered. Instead, Dr. Cetta discharged Brycen with a prescription for 400 mg of Augmentin and

told his parents to follow up with a urologist in three days if Brycen did not improve.

        22.    Brycen’s left testicle continued to swell and be painful. Early the next morning,

Brycen’s parents again took him to the emergency room where he was seen by Mohammad R.

Malik, M.D. Dr. Malik undertook no action in response to Brycen’s parents’ complaints of

increased pain and swelling. He did not order repeat a urine culture, he did not order a repeat

ultrasound, he did not order a nuclear scan, and he did not request a urology consult. Instead, Dr.

Malik discharged Brycen and told Brycen’s parents that the Augmentin had not yet had time to

work.


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       23.     Brycen’s left testicle continued to swell and be painful.

       24.     Later that morning, on October 15, 2009, Brycen’s parents had him evaluated by

Patrick Dennis, M.D., a urologist. Dr. Dennis ordered a Doppler flow study ultrasound that

demonstrated no blood flow to the left testicle. Dr. Dennis diagnosed Brycen as suffering from a

torsion testicle and immediately took him to the operating room. Because blood flow could not

be restored to the left testicle, it was removed.

       25.     Had Dr. Cetta, Dr. Vu, or Dr. Malik properly and timely diagnosed Brycen’s left

torsion testicle, it would not have had to be removed.

       26.     Defendant, Michael G. Cetta, M.D., was negligent in that he:

               a) failed to recognize that Brycen had a left torsion testicle that required

               immediate medical treatment;

               b) failed to order a urology consult after a physical examination consistent with a

               suspected torsion testicle;

               c) failed to order a nuclear scan of Brycen’s left testicle after a physical

               examination consistent with a suspected torsion testicle;

               d) failed to appreciate the significance of Brycen’s test result of absent

               cremesterick reflex on the left;

                e) diagnosed Brycen as suffering from orchitis, which is exceedingly rare for a

                little boy of Brycen’s age; and

                f) was otherwise negligent.

        27.     Defendant, Mohammad R. Malik, M.D., was negligent in that he:

                a) failed to recognize that Brycen had a left torsion testicle that required


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                immediate medical treatment;

                b) failed to order a urology consult after a physical examination consistent with a

                suspected torsion testicle;

                c) failed to order a nuclear scan of Brycen’s left testicle after a physical

                examination consistent with a suspected torsion testicle;

                d) failed to appreciate the significance of Brycen’s return to the emergency room

                with complaints of increased pain and swelling;

                e) diagnosed Brycen as suffering from orchitis, which is exceedingly rare for a

                little boy of Brycen’s age; and

                f) was otherwise negligent.

        28.     Defendant, MEP LLC, by and through its agents, servants and/or employees was

negligent in that it:

                a) failed to recognize that Brycen had a left torsion testicle that required

                immediate medical treatment;

                b) failed to order a urology consult after a physical examination consistent with a

                suspected torsion testicle;

                c) failed to order a nuclear scan of Brycen’s left testicle after a physical

                examination consistent with a suspected torsion testicle;

                d) failed to appreciate the significance of Brycen’s test result of absent

                cremesterick reflex on the left;

                e) failed to appreciate the significance of Brycen’s return to the emergency room

                with complaints of increased pain and swelling;


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               f) diagnosed Brycen as suffering from orchitis, which is exceedingly rare for a

               little boy of Brycen’s age; and

               g) was otherwise negligent.

       29.     Defendant, Trung Q. Vu, M.D., was negligent in that he:

               a) failed to recognize that Brycen had a left torsion testicle that required

               immediate medical treatment;

               b) failed to properly read Brycen’s ultrasound on the morning of October 14,

               2008;

               c) failed to appreciate that the ultrasound on the morning of October 14, 2008

               showed that there was no blood flow to Brycen’s left testicle;

               d) indicated that Brycen was suffering from orchitis, which is exceedingly rare for

               a little boy of Brycen’s age; and

               e) was otherwise negligent.

       30.     Defendant, Associated Radiologists, P.A., by and through its agents, servants

and/or employees was negligent in that it:

               a) failed to recognize that Brycen had a left torsion testicle that required

               immediate medical treatment;

               b) failed to properly read Brycen’s ultrasound on the morning of October 14,

               2008;

               c) failed to appreciate that the ultrasound on the morning of October 14, 2008

               showed that there was no blood flow to Brycen’s left testicle;

               d) indicated that Brycen was suffering from orchitis, which is exceedingly rare for


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               a little boy of Brycen’s age; and

               e) was otherwise negligent.

       31.     Defendant, Washington County Hospital Association, by and through its agents,

servants and/or employees was negligent in that it:

               a) failed to recognize that Brycen had a left torsion testicle that required

               immediate medical treatment;

               b) failed to order a urology consult after a physical examination consistent with a

               suspected torsion testicle;

               c) failed to order a nuclear scan of Brycen’s left testicle after a physical

               examination consistent with a suspected torsion testicle;

               d) failed to appreciate the significance of Brycen’s test result of absent

               cremesterick reflex on the left;

               e) failed to appreciate the significance of Brycen’s return to the emergency room

               with complaints of increased pain and swelling;

               f) diagnosed Brycen as suffering from orchitis, which is exceedingly rare for a

               little boy of Brycen’s age;

               g) failed to properly read Brycen’s ultrasound on the morning of October 14,

               2008;

               h) failed to appreciate that the ultrasound on the morning of October 14, 2008

               showed that there was no blood flow to Brycen’s left testicle; and

               i) was otherwise negligent.

       32.     As a direct and proximate result of the negligence of the Defendants, Brycen


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Kibler was caused to suffer painful and permanent injuries, and was caused to sustain severe

mental anguish and emotional pain and suffering; whereby he was and in the future will be

prevented in engaging in his usual duties and activities; and will continue to experience said

mental anguish, pain and suffering in the future, and was otherwise injured and damaged.

          WHEREFORE, Plaintiffs, Michael Kibler and Jennifer Kibler, as Parents and Next

Friends of Brycen Kibler, seek damages against the Defendants, Michael G. Cetta, M.D.,

Mohammad R. Malik, M.D., MEP, LLC, Trung Q. Vu, M.D., Associated Radiologists, P.A., and

Washington County Hospital Association, in an amount in excess of seventy five thousand

dollars ($75,000.00).

                                              COUNT II

                         (Michael Kibler and Jennifer Kibler, Individually)

          33.    Plaintiffs, Michael Kibler and Jennifer Kibler, Individually, adopt and incorporate

by reference paragraphs 1-32 of the Statement of Claim as fully as if they were set out in length

herein.

          34.    That, as the parents of the Brycen Kibler, they have incurred and will in the future

incur expenses for the cost of medical and health care and other expenses for Brycen Kibler, as a

result of the negligence and carelessness of the Defendants.

          35.    That all of the injuries and damages complained of were proximately caused by

the negligence of the Defendants.

          WHEREFORE, Plaintiffs, Michael Kibler and Jennifer Kibler, Individually, claim

damages against the Defendants, Michael Cetta, M.D., Mohammad R. Malik, M.D., MEP, LLC,

Trung Q. Vu, M.D., Associated Radiologists, P.A., and Washington County Hospital


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Association, in an amount in excess of seventy five thousand dollars ($75,000.00).

                                ELECTION FOR JURY TRIAL

       The Plaintiffs elect to have their case heard before a jury.




                                              ________/s/____________________________
                                              DANIEL M. CLEMENTS
                                              KATHARINE O. PORWICK
                                              SALSBURY, CLEMENTS, BEKMAN,
                                                     MARDER & ADKINS, L.L.C.
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